 Case 2:14-cv-00527-JES-CM Document 28 Filed 08/07/15 Page 1 of 5 PageID 93




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



CATHERINE BROWN, an individual,                                     CIVIL ACTION

                       Plaintiff,
                                                                    Case No. 2:14-cv-527
v.
                                                                    Judge: John E. Steele
DOCTOR’S CHOICE HOME CARE, INC., a Florida
corporation,                                                        Mag. Judge: Carol Mirando

                       Defendant.

 JOINT MOTION FOR COURT APPROVAL OF SETTLEMENT AGREEMENT AND
 DISMISSAL WITH PREJUDICE AND INCORPORATED MEMORANDUM OF LAW

               Plaintiff, CATHERINE BROWN (“Plaintiff”) and Defendant, DOCTOR’S

CHOICE HOME CARE, INC. (“Defendant”) (Plaintiff and Defendant will collectively be

referred to as the “Parties”), through their undersigned counsel, jointly move the Court for

Approval of their Settlement Agreement (“Settlement Agreement”) and dismissal of this case

with prejudice. In support thereof, the Parties state as follows:

         MOTION FOR COURT APPROVAL OF SETTLEMENT AGREEMENT
                     AND DISMISSAL WITH PREJUDICE

               1.      Plaintiff’s Complaint alleges claims for unpaid overtime compensation

against Defendant under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

               2.      The Parties had a bona fide dispute under the FLSA. Defendant asserts

that Plaintiff was not entitled to overtime, as she was an employee exempt from the overtime

provisions of the FLSA as an administrative employee. Defendant also asserts that it had

reasonable grounds to believe it complied with the FLSA at all times, that it has acted in good
 Case 2:14-cv-00527-JES-CM Document 28 Filed 08/07/15 Page 2 of 5 PageID 94




faith and not willfully in violation of the FLSA and, as such, maintains that it is not liable for any

overtime or minimum wages to Plaintiff.

               3.        Each Party conducted research regarding the various relevant legal issues

involved, and exchanged information regarding their respective positions, which included time

cards maintained by the Defendant in the ordinary course of business. As a result of settlement

discussions and mediation, the Parties have fully and completely settled all disputes between

them relating to the FLSA claims in the Complaint. In exchange for Defendant’s payment of a

settlement sum to Plaintiff, Plaintiff has agreed to release Defendant from the FLSA claims

brought in the Complaint. The Parties agree this is a fair and reasonable settlement of a bona fide

dispute.

               4.        The Parties have agreed upon the Settlement Agreement, attached hereto

as Composite Exhibit “A”. The Parties respectfully request that this Court accept and approve

the Settlement Agreement, and dismiss Plaintiff’s Complaint, with prejudice.

                                   MEMORANDUM OF LAW

       I.      Standard of Review.

       As the Eleventh Circuit held in Lynn’s Food Stores, Inc. v. U.S. Dep’t of Labor, 679 F.2d

1350 (11th Cir. 1982):

                “[t]here are only two ways in which back wage claims arising
               under the FLSA can be settled or compromised by employees.
               First, under section 216(c), the Secretary of Labor is authorized to
               supervise payment to employees of unpaid wages owed to them . .
               . . The only other route for compromise of FLSA claims is
               provided in the context of suits brought directly by employees
               against their employer under section 216(b) to recover back wages
               for FLSA violations. When employees bring a private action for
               back wages under the FLSA, and present to the district court a
               proposed settlement, the district court may enter a stipulated
               judgment after scrutinizing the settlement for fairness.”


                                                  2
 Case 2:14-cv-00527-JES-CM Document 28 Filed 08/07/15 Page 3 of 5 PageID 95




Id. at 1352-53.

       Before approving an FLSA settlement, the Court must scrutinize it to determine if it is “a

fair and reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement reflects a

reasonable compromise over issues that are actually in dispute, the Court may approve the

settlement “in order to promote the policy of encouraging settlement of litigation.” Id. at 1354.

In determining whether the settlement is fair and reasonable, the Court should consider the

following factors:

                  (1)    the existence of fraud or collusion behind the settlement:
                  (2)    the complexity, expense, and likely duration of the
                         litigation;
                  (3)    the stage of the proceedings and the amount of discovery
                         completed;
                  (4)    the probability of plaintiff's success on the merits:
                  (5)    the range of possible recovery; and
                  (6)    the opinions of the counsel.

See Leverso v. South Trust Bank of Ala., Nat. Assoc., 18 F.3d 1527, 1531 n.6 (11th Cir. 1994);

Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-22JGG, 2007 U.S. Dist. LEXIS 10287, at *2-3

(M.D. Fla. Jan. 8, 2007). The Court should be mindful of the strong presumption in favor of

finding a settlement fair. Hamilton, 2007 U.S. Dist. LEXIS at * 2-3.

       II.        All of the Relevant Criteria Support Final Approval of the Settlement.

       Plaintiff acknowledges that this settlement provides for full and fair payment for all

overtime and minimum wages to which she may be entitled as alleged in the Complaint.

Accordingly, the settlement is fair. See Davidson v. Orange Lake, Case No. 6:06-cv-1674-Orl-

19KRS, 2008 U.S. Dist. LEXIS 32438, at *2 (M.D. Fla. 2008) (because plaintiff received all past

due compensation to which she was arguably entitled under the FLSA, the settlement was fair

and there was no need for judicial scrutiny of the agreement). Courts have found no fraud or

collusion where both parties were represented by counsel and the amount to be paid to the

                                                 3
 Case 2:14-cv-00527-JES-CM Document 28 Filed 08/07/15 Page 4 of 5 PageID 96




plaintiff seemed fair. See Helms v. Central Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006

U.S. Dist. LEXIS 92994, at *11-12 (M.D. Fla. Dec. 21, 2006).                 Here, each Party was

independently represented by counsel with experience in litigating claims under the FLSA. Each

counsel was obligated to and did vigorously represent his clients’ rights.

       The probability of success on the merits, and the complexity, expense, and length of

future litigation also weigh in favor of this settlement. The Parties continue to disagree over the

merits of the claims asserted. If the Parties were to continue to litigate this matter, they would be

forced to engage in costly litigation in order to prove their claims and defenses. This settlement,

therefore, is a reasonable means for all Parties to minimize future risks and litigation costs.

       Further, there has been sufficient investigation and exchange of information to allow

counsel to reach a fair and reasonable resolution of this matter. Over the course of twelve (12)

months, the Parties voluntarily exchanged information during their settlement negotiations

regarding Plaintiff’s overtime claims. In agreeing upon the proposed settlement, the Parties had

sufficient information and conducted an adequate investigation to allow them to make an

educated and informed analysis of the claims.

       Finally, the "FLSA requires judicial review of the reasonableness of counsel 's legal fees

to assure both that counsel is compensated adequately and that no conflict of interest taints the

amount the wronged employee recovers under a settlement agreement." Silva v. Miller, 307 F.

App'x 349, 351 (11th Cir. 2009). Pursuant to Bonetti v. Embarq Mgmt. Co.,

               … the best way to insure that no conflict [of interest between an attorney's
               economic interests and those of his client] has tainted the settlement is for
               the parties to reach agreement as to the plaintiff's recovery before the fees
               of the plaintiff's counsel are considered. If these matters are addressed
               independently and seriatim, there is no reason to assume that the lawyer's
               fee has influenced the reasonableness of the plaintiff's settlement.

       Bonetti, 715 F. Supp. 2d 1222, 1228 (M.D. Fla. 2009). As the parties negotiated the

                                                  4
 Case 2:14-cv-00527-JES-CM Document 28 Filed 08/07/15 Page 5 of 5 PageID 97




attorney’s fees independently and seriatim, the attorney’s fees did not influence the

reasonableness of the settlement, which number was reached based upon the evidence available

to the parties. As such, the settlement is due to be approved. Vasquez v. P & L Harvesting, LLC,

2015 U.S. Dist. LEXIS 81314, *3 (M.D. Fla. June 23, 2015).

                                       CONCLUSION

       WHEREFORE, CATHERINE BROWN and DOCTOR’S CHOICE HOME CARE, INC.

respectfully request that this Honorable Court enter an Order: (i) GRANTING this Motion; (ii)

APPROVING the settlement of Plaintiff’s claims under the Fair Labor Standards Act; (iii)

DISMISSING this case with prejudice; and (iv) ORDERING such further relief as the Court

deems appropriate.

              Respectfully submitted this 7th day of August, 2015.



By: s/Benjamin H. Yormak______                By: s/Harry W. Haskins
Benjamin H. Yormak                            Harry W. Haskins
Florida Bar No. 071272                        Florida Bar No. 229652
Trial Counsel for Plaintiff                   Trial Counsel for Defendant
Yormak Employment & Disability Law            3400 South Tamiami Trail, Suite 201
9990 Coconut Road                             Sarasota, Florida 34239
Bonita Springs, FL 34135                      (941) 366-1388
(239) 985-9691                                (941) 953-4284
(239) 288-2534                                haskinslaw@aol.com
byormak@yormaklaw.com




                                               5
